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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                   December 04, 2018
                          UNITED STATES DISTRICT COURT
                                                                                    David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
VS.                                            § CIVIL ACTION NO. 7:18-CV-303
                                               §
26.000 ACRES OF LAND, MORE OR                  §
LESS, et al,                                   §
                                               §
         Defendants.                           §

       NOTICE OF RESCHEDULING OF INITIAL PRETRIAL CONFERENCE

       The Initial Pretrial Conference (previously set for December 5, 2018) is hereby reset for

December 12, 2018, at 1:30 p.m. before the Honorable Randy Crane, in the 9th Floor Courtroom,

Bentsen Tower, 1701 West Business Highway 83, in McAllen, Texas.

       SO ORDERED this 4th day of December, 2018, at McAllen, Texas.


                                               ___________________________________
                                               Randy Crane
                                               United States District Judge




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